A                                                                                                                   STATEMENT


B
C           121
                                                                     America First Federal Credit Union · 1-800-999-3961 · americafirst.com
                                                                                                          P.O. Box 9199, Ogden, UT 84409




                                                                                         Statement        Date:       December              31, 2019
            #BWNCHFQ
            #141CANDY00726625#                                                           Account      Number:                  614-1
            CANDY WILLIAMS
            1898 E RICH WAY
            COTTONWOOD HTS UT 84121


                                                                                         Page Number                  1         of 5



                                                fyi          for your information

        Federal law requires us to inform you how we collect, share, and protect your personal information.
         Our Privacy Policy has not changed and you may review it at americafirst.com/privacy or call
          1-800-999-3961 for a free copy. For details regarding the America First Annual Meeting, Board
                  of Directors election and volunteer opportunities, please visit americafirst.com.

          A Summary of Your Accounts                                           A Summary of Your Loans
                            Ending         2019 Dividends                                Ending          Total             Next                          2019
                            Balance                                                      Balance       Amount Due          Payment                     Interest

 Share Savings            5,033.72                  0.06    Loan 1                         0.00              0.00                                4,601.22
 Checking               108,671.54                  0.48    Visa Classic                   0.91              0.91 01/28/2020                         8.40
 Total:                 113,705.26                  0.54    Total:                         0.91              0.91                                4,609.62




Share Savings
                                                            Statement      Period: December 02, 2019 - December 31, 2019

Post      Effective                                                                                           Transaction                         Account
Date
____      _________
            Date      _________________________________________________________
                      Transaction Description                                                                 ___________
                                                                                                                 Amount                           Balance
                                                                                                                                                  _______
                      BEGINNING BALANCE                                                                                                               37.82
12/02                 MOBILE BANKING SHARE TRANSFER   TO VISA CREDIT                                                       4.13-                      33.69
12/05        12/06    AUTOMATIC DEPOSIT, PRIMARY RESIDEN PAYROLL     PPD                                                  50.00                       83.69
12/09                 MOBILE BANKING SHARE TRANSFER   TO VISA CREDIT                                                      50.00-                      33.69
12/19        12/20    AUTOMATIC DEPOSIT, PRIMARY RESIDEN PAYROLL     PPD                                                  50.00                       83.69
12/19                 MOBILE BANKING SHARE TRANSFER   TO VISA CREDIT                                                      50.00-                      33.69
12/30                 MOBILE BANKING SHARE TRANSFER FROM CHECKING                                                      5,000.00                    5,033.69
12/31        01/01    DIVIDEND EARNED FOR PERIOD OF 12/01/2019 THROUGH 12/31/2019
                        ANNUAL PERCENTAGE YIELD EARNED IS   0.10%                                                               .03                5,033.72
                      ENDING BALANCE                                                                                                               5,033.72

Checking
                                                            Statement      Period: December 02, 2019 - December 31, 2019

Post      Effective                                                                                Check      Transaction                         Account
Date
____      _________
             Date     Transaction
                      __________________________________________________
                                   Description                                                     Number
                                                                                                   ______     ___________
                                                                                                                 Amount                           Balance
                                                                                                                                                  _______
                      BEGINNING BALANCE                                                                                                            1,105.35
12/02                 MOBILE BANKING FUNDS TRANSFER FROM VISA CREDIT                                                       275.00                  1,380.35
12/02                 AUTOMATIC WITHDRAWAL, MASTERCARD      PAYMENT     WEB(S )                                             50.00-                 1,330.35
12/02                 AUTOMATIC WITHDRAWAL, PAYPAL          INST XFER WEB(S )                                               75.00-                 1,255.35
12/03        12/02    VISA - 12/01 PILOT 00010439 IDAHO FALLS ID 001788                                                     16.71-                 1,238.64
12/03        12/02    VISA - 12/01 PILOT 00010439 IDAHO FALLS ID 001889                                                     17.50-                 1,221.14
12/03        12/02    VISA - 11/30 CITY BREW COFFEE CB6 KALISPELL MT 030058                                                 32.84-                 1,188.30
12/03                 AUTOMATIC WITHDRAWAL, COMENITY PAY IL WEB PYMT    WEB(S )                                            200.00-                   988.30




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                                                                                                               Federally insured by NCUA. Equal Opportunity Lender.
A                                                                                                        STATEMENT


B
C       CANDY WILLIAMS


Checking, Continued
                                                           Account Number - 2672614-1   December 31, 2019      Page -           2 of 5



                                                           Statement    Period: December 02, 2019 - December 31, 2019

Post     Effective                                                                        Check      Transaction                        Account
Date
____     _________
            Date         Transaction
                         __________________________________________________
                                      Description                                         Number
                                                                                          ______     ___________
                                                                                                        Amount                          Balance
                                                                                                                                        _______
12/03       12/02        VISA - 11/30 PAYPAL *ARCONA INC 402-935-7733 CA 030606                              274.00-                     714.30
12/03                    AUTOMATIC WITHDRAWAL, AMEX EPAYMENT    ACH PMT      WEB(S )                          25.00-                     689.30
12/03       12/02        AUTOMATIC WITHDRAWAL, CAPITAL ONE      ONLINE PMT WEB(S )                            75.00-                     614.30
12/03       12/02        AUTOMATIC WITHDRAWAL, CREDIT ONE BANK PAYMENT       WEB(S )                          90.00-                     524.30
12/03                    AUTOMATIC WITHDRAWAL, WELLS FARGO CARDCCPYMT        WEB(S )                         250.00-                     274.30
12/04       12/03        VISA - 12/02 PALM BEACH TAN SLC801- EF 214-373-0202 TX 00                             7.88-                     266.42
12/04       12/03        VISA - 12/02 MISTER CAR WASH #531 COTTONWOOD HE UT 002684                            35.38-                     231.04
12/05       12/06        AUTOMATIC DEPOSIT, PRIMARY RESIDEN PAYROLL      PPD                               2,654.89                    2,885.93
12/06       12/05        VISA - 12/03 MARKET@WORK 2067379149 RENTON WA 003537                                  3.89-                   2,882.04
12/09       12/08        VISA - 12/07 MEGAPLEX-20 HOLLIDAY UT 007991                                          16.18-                   2,865.86
12/09                    AUTOMATIC WITHDRAWAL, PAYPAL           INST XFER WEB(S )                             19.63-                   2,846.23
12/09       12/08        VISA - 12/07 TRADER JOE'S #351 QPS COTTONWOOD HE UT 00792                            20.01-                   2,826.22
12/09       12/08        VISA - 12/06 LA COCINA SALT LAKE CIT UT 006754                                       32.03-                   2,794.19
12/09       12/08        VISA - 12/07 SIERRA #0044 COTTONWD HTS UT 007064                                    160.86-                   2,633.33
12/11       12/10        VISA - 12/09 RANCHERITOS MEXICAN #4 HOLLADAY UT 008656                               12.15-                   2,621.18
12/11                    AUTOMATIC WITHDRAWAL, IRS              USATAXPYMT WEB(S )                            35.00-                   2,586.18
12/11                    AUTOMATIC WITHDRAWAL, AMEX EPAYMENT    ACH PMT      WEB(S )                          42.00-                   2,544.18
12/13                    MOBILE BANKING FUNDS TRANSFER TO LOAN 1                                             536.00-                   2,008.18
12/13                    AUTOMATIC WITHDRAWAL, VENMO            PAYMENT      WEB(S )                          25.00-                   1,983.18
12/13                    AUTOMATIC WITHDRAWAL, AMEX EPAYMENT    ACH PMT      WEB(S )                          25.00-                   1,958.18
12/13                    AUTOMATIC WITHDRAWAL, VENMO            PAYMENT      WEB(S )                          50.00-                   1,908.18
12/14       12/13        VISA - 12/11 CHICK-FIL-A #02360 MIDVALE UT 011061                                    21.36-                   1,886.82
12/14       12/13        VISA - 12/12 LA COCINA SALT LAKE CIT UT 012536                                       31.89-                   1,854.93
12/16       12/15        ONLINE BANKING REMOTE DEPOSIT                                                       645.98                    2,500.91
12/16       12/15        VISA - 12/14 TJMAXX #0728 MIDVALE UT 014099                                          11.78-                   2,489.13
12/16       12/15        VISA - 12/13 MCDONALD'S F22179 SALT LAKE CIT UT 013483                               19.02-                   2,470.11
12/16       12/15        VISA - 12/13 CENEX FERNDALE09900630 BIGFORK MT 013954                                20.16-                   2,449.95
12/16       12/15        VISA - 12/14 TRADER JOE'S #351 QPS COTTONWOOD HE UT 01465                            31.83-                   2,418.12
12/16       12/15        VISA - 12/13 ROSAUERS #37 KALISPELL MT 013488                                        46.39-                   2,371.73
12/16                    AUTOMATIC WITHDRAWAL, HSN              HSN EPAY     WEB(S )                          90.00-                   2,281.73
12/16                    AUTOMATIC WITHDRAWAL, BANANA R CC      BR EPAY      WEB(S )                         134.36-                   2,147.37
12/16                    AUTOMATIC WITHDRAWAL, CHASE CREDIT CRDEPAY          WEB(S )                         200.00-                   1,947.37
12/16       12/15        VISA - 12/14 HARMONS - EAST MIDVALE UT 014741                                       316.90-                   1,630.47
12/16                    AUTOMATIC WITHDRAWAL, CHASE CREDIT CRDEPAY          WEB(S )                         383.89-                   1,246.58
12/16                    AUTOMATIC WITHDRAWAL, FPB CR CARD      INTERNET     WEB(S )                          45.00-                   1,201.58
12/16                    AUTOMATIC WITHDRAWAL, FPB CR CARD      INTERNET     WEB(S )                          55.00-                   1,146.58
12/17       12/16        VISA - 12/14 DAN'S FOODS #5 SALT LAKE CIT UT 014502                                  35.68-                   1,110.90
12/17       12/16        VISA - 12/15 WM SUPERCENTER #2207 MIDVALE UT 015665                                  86.13-                   1,024.77
12/17                    AUTOMATIC WITHDRAWAL, COMENITY PAY VI WEB PYMT      WEB(S )                         200.00-                     824.77
12/18       12/17        VISA - 12/15 DAN'S FOODS #5 SALT LAKE CIT UT 015230                                  36.42-                     788.35
12/19       12/20        AUTOMATIC DEPOSIT, PRIMARY RESIDEN PAYROLL      PPD                               2,163.89                    2,952.24
12/19                    MOBILE BANKING FUNDS TRANSFER TO VISA CREDIT                                         25.00-                   2,927.24
12/21       12/20        VISA - 12/18 MARKET@WORK 2067379149 RENTON WA 018419                                  2.45-                   2,924.79
12/23       12/22        POINT OF SALE PURCHASE US UT MURRAY, COSTCO WHSE #0764                              152.66-                   2,772.13
12/23       12/22        VISA - 12/19 MARKET@WORK 2067379149 RENTON WA 019573                                  3.73-                   2,768.40
12/23                    AUTOMATIC WITHDRAWAL, OLD NAVY VISA    OLDN EPAY WEB(S )                             65.00-                   2,703.40
12/23       12/20        AUTOMATIC WITHDRAWAL, CAPITAL ONE      ONLINE PMT WEB(S )                            50.00-                   2,653.40
12/23                    AUTOMATIC WITHDRAWAL, MERRICK BANK CORONLINEPYMT WEB(S )                             50.00-                   2,603.40
12/23       12/20        AUTOMATIC WITHDRAWAL, CREDIT ONE BANK PAYMENT       WEB(S )                          50.00-                   2,553.40
12/23                    AUTOMATIC WITHDRAWAL, VENMO            PAYMENT      WEB(S )                         100.00-                   2,453.40
12/23                    AUTOMATIC WITHDRAWAL, WELLS FARGO AUTOFEE & PMTS WEB(S )                            481.17-                   1,972.23
12/24                    AUTOMATIC DEPOSIT, VENMO            CASHOUT     PPD                                  15.00                    1,987.23
12/24                    AUTOMATIC WITHDRAWAL, COMENITY PAY OH WEB PYMT      WEB(S )                         135.00-                   1,852.23
12/26       12/24        VISA - 12/23 PRO IMAGE SPORTS #666 W VALLEY CITY UT 02382                            21.44-                   1,830.79
12/26       12/24        VISA - 12/23 MEGAPLEX-07 WEST VALLEY C UT 023601                                     28.14-                   1,802.65
12/26       12/24        VISA - 12/22 DAN'S FOODS #5 SALT LAKE CIT UT 022941                                  88.35-                   1,714.30
12/28                    MOBILE BANKING FUNDS TRANSFER TO VISA CREDIT                                         25.00-                   1,689.30
12/30       12/29        VISA - 12/27 CENTURY THEATRES 487 SANDY UT 027212                                    14.32-                   1,674.98
12/30       12/29        VISA - 12/27 COSTCO WHSE #0764 MURRAY UT 027132                                     120.31-                   1,554.67
12/30                    BANK TO BANK TRANSFER                                                           120,622.36                  122,177.03
12/30                    BANK TO BANK TRANSFER FEE                                                            10.00-                 122,167.03
12/30                    MOBILE BANKING FUNDS TRANSFER TO VISA CREDIT                                        350.00-                 121,817.03




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A                                                                                                                        STATEMENT


B
C       CANDY WILLIAMS


Checking, Continued
                                                             Account Number - 2672614-1             December 31, 2019          Page -           3 of 5



                                                             Statement      Period: December 02, 2019 - December 31, 2019

Post     Effective                                                                                     Check        Transaction                         Account
Date
____     _________
            Date          Transaction
                          __________________________________________________
                                       Description                                                     Number
                                                                                                       ______       ___________
                                                                                                                       Amount                           Balance
                                                                                                                                                        _______
12/30                     MOBILE BANKING FUNDS TRANSFER TO SHARE SAVINGS                                                     5,000.00-               116,817.03
12/30                     AUTOMATIC WITHDRAWAL, PAYPAL          INST XFER       WEB(S )                                         55.00-               116,762.03
12/31                     DEPOSITED 0001 CHECK ITEMS                                                                           126.82                116,888.85
12/31                     AUTOMATIC WITHDRAWAL, GLACIER BANK    A2A.TRANFR      WEB(S )                                         50.00-               116,838.85
12/31                     AUTOMATIC WITHDRAWAL, GLACIER BANK    A2A.TRANFR      WEB(S )                                         50.00-               116,788.85
12/31                     AUTOMATIC WITHDRAWAL, GLACIER BANK    A2A.TRANFR      WEB(S )                                         50.00-               116,738.85
12/31                     AUTOMATIC WITHDRAWAL, APPLECARD GSBANKPAYMENT         WEB(S )                                         85.88-               116,652.97
12/31           12/30     AUTOMATIC WITHDRAWAL, CAPITAL ONE     ONLINE PMT      WEB(S )                                        674.70-               115,978.27
12/31                     AUTOMATIC WITHDRAWAL, CHASE CREDIT CRDEPAY            WEB(S )                                        884.62-               115,093.65
12/31           12/30     AUTOMATIC WITHDRAWAL, CAPITAL ONE     ONLINE PMT      WEB(S )                                      1,231.87-               113,861.78
12/31                     AUTOMATIC WITHDRAWAL, WELLS FARGO CARDCCPYMT          WEB(S )                                      1,303.91-               112,557.87
12/31                     AUTOMATIC WITHDRAWAL, CHASE CREDIT CRDEPAY            WEB(S )                                      3,886.70-               108,671.17
12/31           01/01     DIVIDEND EARNED FOR PERIOD OF 12/01/2019 THROUGH      12/31/2019
                            ANNUAL PERCENTAGE YIELD EARNED IS   0.05%                                                                 .37            108,671.54
                          ENDING BALANCE                                                                                                             108,671.54

Checking Summary
        ____
        Item            ______
                        Amount              ____
                                            Item         ______
                                                         Amount               ____
                                                                              Item            ______
                                                                                              Amount                    ____
                                                                                                                        Item                     ______
                                                                                                                                                 Amount
         VISA             32.84      :       VISA         16.18       :        VISA             46.39         :          VISA                      3.73
         VISA            274.00      :       VISA         20.01       :        VISA             11.78         :          VISA                     88.35
         VISA             16.71      :       VISA        160.86       :        VISA             31.83         :          VISA                     21.44
         VISA             17.50      :       VISA         12.15       :        VISA             35.68         :          VISA                     28.14
         VISA              7.88      :       VISA         21.36       :        VISA            316.90         :          VISA                     14.32
         VISA             35.38      :       VISA         31.89       :        VISA             36.42         :          VISA                    120.31
         VISA              3.89      :       VISA         19.02       :        VISA             86.13
         VISA             32.03      :       VISA         20.16       :        VISA              2.45

Total Checks and Visa Checking:              1,565.73        Total Withdrawals:            17,372.39              Total Deposits:                     126,504.31

Loan 1
                                                             Statement      Period: December 02, 2019 - December 31, 2019

                          PAYMENT        SCHEDULED      PAST DUE             TOTAL              DAILY          VARIABLE ANNUAL
                         DUE DATE         PAYMENT        AMOUNT           AMOUNT DUE        PERIODIC RATE     PERCENTAGE RATE
                                                .00            .00               .00           .02737%                 9.990%

Post     Effective                                                              Transaction             Interest                      Loan
Date
____     _________
           Date           ___________________________________
                          Transaction Description                               ___________
                                                                                   Amount              __________
                                                                                                         Charge            Principal
                                                                                                                           _________ Balance**
                                                                                                                                     _________
                          BEGINNING BALANCE                                                                                                            41,812.81
12/13                     MOBILE BANKING PAYMENT FROM CHECKING                            536.00-           366.21              169.79-                41,643.02
12/31                     PAYMENT                                                      41,848.18-           205.16           41,643.02-                      .00
                          ENDING BALANCE                                                                                                                     .00

         Interest Charged


Post     Effective                                                                                                                                  Interest
Date
____     _________
           Date           ___________________________________
                          Transaction Description                                                                                                  _________
                                                                                                                                                     Amount
12/13                     MOBILE BANKING PAYMENT FROM CHECKING                                                                                               366.21
12/31                     PAYMENT                                                                                                                            205.16
                                TOTAL INTEREST FOR THIS PERIOD                                                                                               571.37




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A                                                                                                    STATEMENT


B
C    CANDY WILLIAMS


Visa Classic Rewards, Continued
                                                       Account Number - 2672614-1   December 31, 2019      Page -           5 of 5



                                                       Statement   Period: December 02, 2019 - December 31, 2019

      Fees


Effective    Purchase                                                                                                             Fee
_________
   Date      ________
               Date         Transaction
                            ________________________________________________________
                                         Description                                                                           _________
                                                                                                                                 Amount
  12/02                    MOBILE BANKING CASH ADVANCE FEE                                                                                   4.13
                           TOTAL FEES FOR THIS PERIOD                                                                                        4.13

      Interest Charged


Effective    Purchase                                                                                                           Interest
_________
   Date      ________
               Date         Transaction
                            ________________________________________________________
                                         Description                                                                           _________
                                                                                                                                  Amount
  12/31                    **INTEREST CHARGE**                                                                                                 .91
                           TOTAL INTEREST FOR THIS PERIOD                                                                                     0.91

      Year-to-Date    Fee and Interest Totals

                          *Total fees charged in 2019                                                                                        4.13
                           Total interest charged in 2019                                                                                    8.40

                          *May not reflect fee reversals or waivers.

 ** Balance Subject to Interest Rate: The balance used to compute interest is the unpaid balance each day after
payments and credits to that balance have been subtracted and any additions to the balance have been made.




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A                                                                                                                              STATEMENT


B
C                                                          FOR CONSUMER ACCOUNTS ONLY
                                      ELECTRONIC TRANSFER ERROR RESOLUTION
  In case of errors or questions about your electronic transfers, write,          If we decide to do this, we will credit your account within
  e-mail, or telephone us as soon as possible: America First Federal              ten (10) business days, for the amount you think is in error, so
  Credit Union, P.O. Box 9199, Ogden, UT 84409-0199; contact us -                 that you will have use of the money during the time it takes us to
  support@americafirst.com; or call: Ogden, 801-627-0900, Utah                    complete our investigation.
  County, 801-223-3900, Salt Lake City, 801-966-5553, or toll-free,
                                                                                  If we ask you to put your complaint or question in writing and we
  1-800-999-3961. We must hear from you within sixty (60) days
                                                                                  do not receive it within ten (10) business days, we may not credit
  after we sent, or otherwise made available, the first statement on
                                                                                  your account. For transactions initiated outside the United States
  which the problem appears.
                                                                                  and point-of-sale transactions, we will have ninety (90) calendar
      a. Tell us your name and account number.                                    days instead of forty-five (45) days to investigate your complaint or
      b. Describe the transaction about which you are unsure, and                 question.
      explain as clearly as you can why you believe it is an error or             If we decide after our investigation that an error did not occur, we
      why you need more information.                                              will deliver or mail you an explanation of our findings within
      c. Tell us the dollar amount of the suspected error.                        three (3) business days after the conclusion of our investigation. If
  If you inform us orally about the suspected error, we may require               you request, we will provide you copies of documents (to the
  that you send us your complaint or question in writing within ten (10)          extent possible without violating other members' right to privacy)
  business days. We will tell you the results of our investigation within         relied upon to conclude that the error did not occur.
  ten (10) business days after we hear from you and will correct any
  error promptly. If we need more time, however, we may take up to
  forty-five (45) days to investigate your complaint or question.

                                                            YOUR BILLING RIGHTS
                                                         KEEP THIS NOTICE FOR FUTURE USE

  This notice contains important information about your rights and                We can continue to send statements to you for the amount you
  our responsibilities under the Fair Credit Billing Act. NOTIFY US               question, including finance charges, and we can apply any unpaid
  IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR                                       amount against your credit limit. You do not have to pay any
  STATEMENT. If you think your statement is wrong, or if you need                 questioned amount while we are investigating, but you are still
  more information about a transaction on your statement, write to us             obligated to pay the parts of your statement that are not in question.
  on a separate sheet at the address listed on your statement. Write to us
  as soon as possible. We must hear from you no later than sixty (60)             If we find that we made a mistake on your statement, you will not
  days after we sent you the first statement on which the error or                have to pay any finance charges related to any questioned amount.
  problem appeared. You may telephone us, but doing so will not                   If we didn't make a mistake, you may have to pay finance charges,
  preserve your rights.                                                           and you will have to make up any missed payments on the
                                                                                  questioned amount. In either case, we will send you a statement of
  In your letter, give us the following information:                              the amount you owe and the date that it is due. If you fail to
                                                                                  pay the amount that we think you owe, we may report you as
      - Your name and account number.                                             delinquent.

      - The dollar amount of the suspected error.                                 However, if our explanation does not satisfy you and you write to
                                                                                  us within ten (10) days of receiving the explanation, telling us that
      - Describe the error and explain, if you can, why you believe               you still refuse to pay, we must tell anyone to whom we report you
      there is an error. If you need more information, describe the item          that you have a question about your statement. And, we must tell
      about which you are not sure.                                               you the name of anyone to whom we reported you. We must tell
                                                                                  anyone we report you to that the matter has been settled between
                                                                                  us when it finally is. If we don't follow these rules, we can't collect
  If you have authorized us to pay a credit card account automatically            the first $50 of the questioned amount, even if your statement was
  from your share account or share draft account, you can stop the                correct.
  payment on any amount you think is wrong. To stop the payment,
  your letter must reach us three (3) business days before the                    SPECIAL RULE FOR CREDIT CARD PURCHASES. If you
  automatic payment is scheduled to occur.                                        have a problem with the quality of property or services that you
                                                                                  have purchased with a credit card, and you have tried in good faith
                                                                                  to correct the problem with the merchant, you may have the right
  YOUR RIGHTS AND OUR RESPONSIBILITIES AFTER WE                                   not to pay the remaining amount due on the property or services.
  RECEIVE YOUR WRITTEN NOTICE. We must acknowledge                                There are two limitations on this right: (a) You must have made
  your letter within thirty (30) days, unless we have corrected the error         the purchase in your home state or, if not within your home state,
  by then. Within ninety (90) days, we must either correct the error or           within 100 miles of your current mailing address; and (b) the
  explain why we believe the statement was correct.                               purchase price must have been more than $50.

  After we receive your letter, we cannot try to collect any amount               These limitations do not apply if we own or operate the merchant,
  you question, or report you as delinquent.                                      or if we mailed you the advertisement for the property or services.




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                       SEND CORRESPONDENCE TO: P.O. BOX 9199, OGDEN, UT 84409 · AMERICAFIRST.COM · TOLL-FREE: 1-800-999-3961
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                   THOSE WITH HEARING OR SPEECH MPAIRMENTS CAN DIAL 711 OR USE PREFERRED TELECOMMUNICATION RELAY SERVICES.

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